 8:15-cr-00164-LSC-SMB        Doc # 68    Filed: 01/05/16    Page 1 of 1 - Page ID # 104




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:15CR164
                                             )
       vs.                                   )
                                             )
JACOB J. BARRICKMAN and                      )                   ORDER
BRIANNA M. HAMPTON,                          )
                                             )
                     Defendants.


      This matter is before the court on the unopposed Motion to Continue Trial [66].
Counsel has recently been retained and needs additional time to explore plea negotiations
and prepare for trial. The defendant has complied with NECrimR 12.1(a). See filing [67].
For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [66] is granted, as follows:

      1. The jury trial, for both defendants, now set for January 12, 2016 is continued
to February 23, 2016.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and February 23, 2016, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED January 5, 2016.

                                   BY THE COURT:

                                   s/ F.A. Gossett, III
                                   United States Magistrate Judge
